                  Case 2:03-cr-00844-KSH                                                             Document 794                                     Filed 10/01/12                                          Page 1 of 1 PageID: 3832

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